           Case 3:24-cv-00122-BAJ-RLB         Document 26       04/01/24 Page 1 of 6




                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

    FLORIDA GAS TRANSMISSION                        CIVIL ACTION NO.: 3:24-cv-00122-
    COMPANY, LLC                                    BAJ-RLB


    V.                                              JUDGE: BRIAN A. JACKSON

    8.22 ACRES, MORE OR LESS,
                                                    MAGISTRATE JUDGE: RICHARD L.
    SITUATED IN IBERVILLE PARISH,
                                                    BOURGEOIS, JR.
    LOUISIANA, MURRELL FAMILY
    L.L.C, AND FOREST HOME
    PLANTATION, L.L.C



                   REPLY TO DEFENDANTS’ RESPONSE TO PLAINTIFF’S
                  MOTION TO CONFIRM CONDEMNATION OF SERVITUDES
                         AND FOR PRELIMINARY INJUNCTION

         NOW INTO COURT, through undersigned counsel, comes Plaintiff Florida Gas

Transmission Company, LLC (“Florida Gas”), who respectfully submits this Reply to Defendants’

Response to Plaintiff’s Motion to Confirm Condemnation of Servitudes and for Preliminary

Injunction.1

I.       BACKGROUND

         Plaintiff filed its Original Complaint in Condemnation on February 19, 2024 seeking to

condemn property owned by the Forest Home Plantation, L.L.C. and the Murrell Family, L.L.C.

(collectively “Defendants”).2 Plaintiff concurrently filed its Motion to Confirm Condemnation of

Servitudes and for Preliminary Injunction (the “Motion”).3 Defendants were served with Plaintiff’s



1
    R. Doc. 19.
2
    See R. Doc. 1.
3
    R. Doc. 3.


                                                1
           Case 3:24-cv-00122-BAJ-RLB            Document 26      04/01/24 Page 2 of 6




Original Complaint in Condemnation on March 1, 2024.4 On February 23, 2024, the Court issued

the Amended Scheduling Order, providing the Defendants a deadline of March 11, 2024, to

respond to Plaintiff’s Motion, and a deadline of April 1, 2024, for Plaintiff to file any responsive

briefing.5 On March 11, 2024, Defendants responded to Plaintiff’s Motion.6

          In their response, Defendants correctly represent that all parties are in active settlement

discussions and believe that the parties will resolve this dispute prior to this Court’s hearing on

Plaintiff’s Motion,7 set for May 15, 2024.8 Because of this, Defendants prayed that “the Court deny

Plaintiff’s Motion to Confirm Condemnation of Servitudes and for Preliminary Injunction as moot

. . . .”9 However, this Court should not deny Plaintiff’s Motion as moot, and Defendants are not

entitled to fees or costs associated with the instant Motion.

II.       ANALYSIS

          A.      The Court Should Grant Plaintiff’s Motion to Confirm Condemnation of
                  Servitudes and for Preliminary Injunction

          The Court should grant Plaintiff’s Motion to Confirm Condemnation of Servitudes and for

Preliminary Injunction. A motion for preliminary injunction providing immediate possession of

property to a natural gas company may be granted by the court where the court finds the natural

gas company has condemnation authority and “can otherwise satisfy the criteria for preliminary




4
    See R. Doc. 16; R. Doc. 17.
5
    See R. Doc. 14.
6
    See R. Doc. 19.
7
    R. Doc. 3
8
    R. Doc. 14.
9
    R. Doc. 19 at 2.


                                                   2
           Case 3:24-cv-00122-BAJ-RLB            Document 26        04/01/24 Page 3 of 6




injunctive relief.”10 In their response, “Defendants do not oppose or contest Plaintiff’s right to

condemn the property interests . . . ,”11 therefore, the Court must only determine whether the Fifth

Circuit’s four-factor test weighs in favor of granting the preliminary injunction. As stated in

Plaintiff’s Memorandum in Support of Motion to Confirm Condemnation of Servitudes and for

Preliminary Injunction, four factors that the Court must weigh are: (1) substantial likelihood that

Plaintiff will prevail on the merits; (2) substantial threat that Plaintiff will suffer irreparable harm

if the preliminary injunction is not granted; (3) the threatened injury outweighs the threatened

harm; and (4) granting the injunction will not disserve the public interest.12

          In their response Defendants argue that “during the Parties’ February 22, 2024 telephone

conference, Plaintiff represented that it did not need ‘immediate possession of the servitudes it

seeks to acquire and that there was no ‘immediate’ need to access the property for at least sixty

(60) days,” and that “Plaintiff also will not suffer irreparable injury if the preliminary injunction

is denied.”13 However, this is a mischaracterization of Plaintiff’s statements. While Plaintiff did

state that it did not require possession for at least sixty days, this was stated in the context of

scheduling a hearing on the instant motion. However, for the reasons stated more thoroughly in its

memorandum in support of its Motion, Plaintiff maintains that immediate possession following

the hearing on the Motion is absolutely necessary as “any delay in granting Florida Gas possession

of the servitudes will impede its ability to provide the needed delivery service deemed by the FERC




10
  See Gulf Crossing Pipeline Co. LLC v. 86.36 Acres of Land, More or Less, Situated in Caddo,
Bossier, Claiborne, Union, Ouachita, Morehouse, Richland & Madison Parishes, La., No. 08-CV-
689, 2008 WL 2465892, at *4 (W.D. La. June 18, 2008).
11
     See R. Doc. 19 at 1.
12
     See R. Doc. 3-1 at 10-11 (quoting Gulf Crossing Pipeline Co., 2008 WL 2465892, at *4).
13
     R. Doc. 19 at 2.


                                                   3
            Case 3:24-cv-00122-BAJ-RLB          Document 26       04/01/24 Page 4 of 6




to be in the best interest of the public,”14 and Florida Gas faces a significant risk of reputational

harm if it is unable to meet[] its regulatory safety obligations in the community.”15

          Further, Defendants cite no authority for their argument that this Court should deny

Plaintiff’s Motion at this juncture because there is a chance that at some point in the future before

the hearing the issue may become moot if the parties can agree to an amicable resolution. The mere

possibility of settlement alone is not enough to deny Plaintiff’s Motion,16 and denying the Motion

as moot now would serve only to delay the proceedings if amicable resolution cannot be reached,

which is directly contrary to Fed. R. Civ. P. 1. All parties have already spent time and resources

preparing for and responding to Plaintiff’s Motion, which would necessarily need to be duplicated

if the Court denies the Motion now, only to have to refile the Motion in the event that the parties

are unable to reach amicable resolution. Instead, the Court should maintain the current hearing

date of May 15, 2024, and wait to rule on the Motion until such date.

          B.       Defendants Are Not Entitled to Fees and Costs

          As previously stated in Plaintiff’s Reply to Defendants’ Response to Plaintiff’s Notice of

Condemnation,17 Defendants are not entitled to the fees and costs of court as prayed. “The

‘American rule’ ordinarily requires parties to shoulder their own counsel fees and other litigation



14
     R. Doc. 3-1 at 12.
15
     Id. at 13.
16
  C.f. Bickham v. United Parcel Serv., Inc., No. CV 21-2116, 2022 WL 17814241, at *1 (E.D. La.
Dec. 13, 2022) (“the mere possibility of settlement is not good cause to grant modification of the
current scheduling order.”); Landry v. W. Ascension Par. Hosp. Serv. Dist., No. CV 20-541-BAJ-
SDJ, 2022 WL 20298470, at *1 (M.D. La. Oct. 20, 2022) (internal quotations omitted) (quoting
Holder v. Healthcare Serv. Corp., No. 18-2704, 2020 WL 95634, at *3 (N.D. Tex. Jan. 8, 2020))
(“engaging in settlement discussions does not constitute good cause for modification of a
scheduling order because it does not excuse [the parties’] responsibility to comply with the court-
ordered deadlines.”).
17
     R. Doc. 25.


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         Case 3:24-cv-00122-BAJ-RLB            Document 26       04/01/24 Page 5 of 6




expenses absent statutory or contractual authority for an alternative allocation.”18 Importantly,

Defendants have failed to cite a single law or contractual agreement that would entitle them to fees

and costs. Neither the Natural Gas Act or Fed. R. Civ. P. 71.1 provide for recovery of attorneys’

fees, and Defendants provide no additional authority to suggest otherwise. As such, this Court

should reject Defendants’ prayer for fees and costs.

III.   CONCLUSION

       For the reasons stated in the instant Reply, Plaintiff requests that this Court not deny

Plaintiff’s Motion to Confirm Condemnation of Servitudes and for Preliminary Injunction, or grant

Defendants’ fees and costs of court as prayed in their Response to Plaintiff’s Motion to Confirm

Condemnation of Servitudes and for Preliminary Injunction.

                                              Respectfully submitted,


                                              /s/ Matthew D. Simone________
                                              Cheryl M. Kornick (Bar# 19652)
                                              Matthew D. Simone (Bar# 32690)
                                              Zachary D. Berryman (Bar# 40278)
                                              LISKOW & LEWIS
                                              701 Poydras Street, Suite 5000
                                              New Orleans, Louisiana 70139
                                              Telephone: 504-581-7979
                                              Facsimile: 504-556-4108
                                              Email: cmkornick@liskow.com
                                                      mdsimone@liskow.com
                                                      zberryman@liskow.com

                                              Attorneys for Florida Gas Transmission Company,
                                              LLC




18
  Batson v. Neal Spelce Assocs., Inc., 805 F.2d 546, 550 (5th Cir. 1986) (citing Alyeska Pipeline
 Serv. Co. v. Wilderness Soc., 421 U.S. 240 (1975)).


                                                 5
         Case 3:24-cv-00122-BAJ-RLB           Document 26       04/01/24 Page 6 of 6




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the above and foregoing motion has been served upon

all counsel of record below by e-filing notice, by placing same in United Sates mail, properly

addressed and postage prepaid, and/or by electronic mail this 1st day of April, 2024.

                                             /s/ Matthew D. Simone




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